                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:21-CV-103-FDW-DCK

 COURTNEY D. STEPHENSON,                                )
                                                        )
                 Plaintiff,                             )
                                                        )
     v.                                                 )       ORDER
                                                        )
 ATRIUM HEALTH, INC. , CAROLINAS                        )
 PHYSICIANS NETWORK, INC., and THE                      )
 CHARLOTTE-MECKLENBURG                                  )
 HOSPITAL AUTHORITY,                                    )
                                                        )
                 Defendants.                            )
                                                        )

          THIS MATTER IS BEFORE THE COURT sua sponte regarding scheduling concerns.

This action has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b),

and immediate review is appropriate.

          Pursuant to Judge Whitney’s “Case Management Order” (Document No. 18, p. 5), the

undersigned held an informal telephone conference on October 26, 2021, regarding discovery

disputes in this case. Regrettably, the issues in dispute are not well-suited to resolution through

this informal process. As discussed during the call, if counsel are unable to reach a compromise

on the issues, it will likely be necessary for Plaintiff to file a motion for protective order and/or a

motion to compel.

          IT IS, THEREFORE, ORDERED that Plaintiff may file a Motion For Protective Order

and/or a Motion To Compel, regarding currently pending discovery disputes, on or before

November 5, 2021. Responses are due November 15, 2021; and Replies are due November 19,

2021.




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SO ORDERED.


                  Signed: October 26, 2021




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